Case No. 1:21-cv-01073-CMA-NRN Document 86-4 filed 05/15/23 USDC Colorado pg 1 of
                                      6
                                   Charles Bantis
                                   March 03, 2022

 ·   · · · · · · IN THE UNITED STATES DISTRICT COURT
 ·   · · · · · · · · FOR THE DISTRICT OF COLORADO
 ·
 ·   · ·Civil Action No. 21-cv-01073-CMA-CPG
 ·   · ·______________________________________________________

 · · · · · · VIDEOTAPED REMOTEDEPO™ DEPOSITION OF:
 · · · · · · · · ·CHARLES BANTIS - March 3, 2022
 · · ·______________________________________________________

 ·   · ·THE AARON H. FLECK REVOCABLE TRUST, through its
 ·   · ·Trustees, Aaron H. Fleck and Barbara G. Fleck,
 ·
 ·   · ·THE BARBARA G. FLECK REVOCABLE TRUST, through its
 ·   · ·Trustees, Aaron H. Fleck and Barbara G. Fleck,

 ·   · ·AARON H. FLECK and BARBARA G. FLECK, on behalf of
 ·   · ·themselves and all others similarly situated,
 ·
 ·   · ·Plaintiffs,
 ·
 ·   · ·v.
 ·
 ·   · ·FIRST WESTERN TRUST BANK,
 ·
 ·   · ·CHARLES BANTIS and
 ·
 ·   · ·ANDREW GODFREY,
 ·
 ·   · ·Defendants.
 ·   · ·______________________________________________________

 ·   ·   · · · · · · PURSUANT TO NOTICE, the Videotaped
 ·   ·   ·RemoteDepo™ deposition of CHARLES BANTIS was taken on
 ·   ·   ·behalf of the Plaintiffs by remote means, on March 3,
 ·   ·   ·2022 at 9:30 a.m., before Tracy R. Stonehocker,
 ·   ·   ·Certified Realtime Reporter, Registered Professional
 ·   ·   ·Reporter and Notary Public within Colorado, appearing
 ·   ·   ·remotely from Jefferson County, Colorado.

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Case No. 1:21-cv-01073-CMA-NRN Document 86-4 filed 05/15/23 USDC Colorado pg 2 of
                                      6
                                   Charles Bantis
                                   March 03, 2022
                                      Page 14                                Page 16




                                      Page 15                                Page 17




                    U.S. Legal Support | www.uslegalsupport.com          14 to 17
                                                                                       Y Ve r1f
Case No. 1:21-cv-01073-CMA-NRN Document 86-4 filed 05/15/23 USDC Colorado pg 3 of
                                      6
                                   Charles Bantis
                                   March 03, 2022
                                      Page 22                                Page 24




                                      Page 23                                Page 25




                    U.S. Legal Support | www.uslegalsupport.com          22 to 25
                                                                                       Y Ve r1f
Case No. 1:21-cv-01073-CMA-NRN Document 86-4 filed 05/15/23 USDC Colorado pg 4 of
                                      6
                                   Charles Bantis
                                   March 03, 2022
                                      Page 26                                Page 28




                                      Page 27                                Page 29




                    U.S. Legal Support | www.uslegalsupport.com          26 to 29
                                                                                       Y Ve r1f
Case No. 1:21-cv-01073-CMA-NRN Document 86-4 filed 05/15/23 USDC Colorado pg 5 of
                                      6
                                   Charles Bantis
                                   March 03, 2022
                                      Page 30                                Page 32




                                      Page 31                                Page 33




                    U.S. Legal Support | www.uslegalsupport.com          30 to 33
                                                                                       Y Ve r1f
Case No. 1:21-cv-01073-CMA-NRN Document 86-4 filed 05/15/23 USDC Colorado pg 6 of
                                      6
                                   Charles Bantis
                                   March 03, 2022
                                      Page 86                                Page 88




                                      Page 87                                Page 89




                    U.S. Legal Support | www.uslegalsupport.com          86 to 89
                                                                                       Y Ve r1f
